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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          PLAINTIFFS’ ADMINISTRATIVE
                                        )          MOTION TO REMOVE
23           v.                         )          INCORRECTLY FILED DOCUMENT
                                        )          (DKT. NO. 514-2)
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1          Plaintiffs respectfully request that the Court order that Dkt. No. 514-2 be removed from the

 2   ECF docket on the grounds that it includes a document that was incorrectly filed publicly rather than

 3   under seal.

 4          On January 9, 2024, Plaintiffs filed their Notice of Motion and Motion to Exclude the Expert

 5   Testimony of Terrence McGraw (“McGraw Daubert Motion”) (Dkt. No. 514), and in support thereof,

 6   filed the Declaration of Micah G. Block (“Block Declaration”) (Dkt. No. 514-1) and Exhibits A

 7   through F thereto (Dkt. No. 514-2). Exhibit F to the Block Declaration is an unredacted version of

 8   the report of Plaintiffs’ technical expert, David Youssef (the “Youssef Report”).

 9          Also on January 9, 2024, Defendants filed the Youssef Report under seal in connection with

10   one of their Daubert motions. See Dkt. No. 511. Defendants’ sealing motion noted that while Plain-

11   tiffs had designated the Youssef Report as Highly Confidential—Attorney’s Eyes Only pursuant to

12   the Stipulated Protective Order (Dkt. No. 132), the Youssef Report contained “discussion of confi-

13   dential and competitively sensitive documents and information produced by both parties” (Dkt. No.

14   511 at 2–3) (emphasis added).

15          On January 13, 2025, Plaintiffs promptly contacted Defendants after noticing the parties’ in-

16   consistent sealing of the Youssef Report, stating that Plaintiffs would leave the Youssef Report on

17   the public docket absent Defendants’ request for Plaintiffs to remove it and file it under seal instead.

18   Defendants responded on January 15, 2025, stating that they would like the Youssef Report to be

19   filed under seal for the reasons articulated in Defendants’ sealing motion.

20          In order to facilitate removing the Youssef Report from the public docket, Plaintiffs contacted

21   the Court’s Case Systems Administrator for Civil Case Docketing & Docket Correction, as well as

22   the ECF Help Desk, and were told that Exhibits A through F to the McGraw Daubert Motion (Dkt.

23   514-2) need to be removed from the docket, as opposed to just Exhibit F, which is the Youssef Report.

24          Accordingly, Plaintiffs respectfully move the Court to remove Exhibits A through F to the

25   McGraw Daubert Motion (Dkt. No. 514-2) from ECF. Plaintiffs will promptly file a supplemental

26   Motion to Consider Whether Another Party’s Material Should be Filed Under Seal, a redacted public

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     PLAINTIFFS’ MOTION TO REMOVE INCORRECTLY FILED DOCUMENT
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 1   version of Exhibits A through F to the McGraw Daubert Motion (Dkt. 514-2), and an unredacted

 2   sealed version of Exhibit F pursuant to Local Rule 79-5.

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 4    Dated: January 16, 2025                     Respectfully Submitted,

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